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                        UN ITED STA TES DISTRICT CO UR T FOR TH E
                              SO UTH ERN D ISTRICT OF FLO RID A
                                    FO RT PIER CE D IV ISIO N
                    C ase N um ber: I8-I4OII-C IV -M A R TIN EZ-M A YN A R D

 M ELOD Y PA SCH A L,
      Plaintiff,



 PRO G LEA SIN G ,LLC ,
       D efendant.


          O RD ER A PPR O V IN G STIPULA TIO N TO STA Y CA SE A N D C O M PEL
         A R BITM TIO N :D ENY IN G A LL PEN D IN G M O TIO N S A S M O O T;AN D
                      A D M IN ISTR ATIV ELY CLO SIN G TH E C A SE

        TH IS CA U SE cam e before the Court upon the parties' Stipulation to Stay Case and
 CompelArbitration LECFNo.12j.Thepartieshaveagreed toarbitratetheirclaimsinthisaction
 pursuantto an arbitration agreem ent entered into by the parties.The parties requestthis Courtto
 order allclaim s in this action be subm itted to arbitration and stay this action pending resolution
 ofthe arbitration proceeding.A ftercarefulconsideration,itishereby:
        O RD ERE D A N D A DJUD G E D as follow s:
                The parties' Stipulation to Stay Case and Com pel A rbitration is hereby
 A PPR O V ED . The claim s in this action shall be subm itted to arbitration pursuant to the
 arbitration agreem ententered into by the parties.
        2.      This action is hereby STAY ED pending resolution of the arbitration proceeding,
 with each party to bear its ow n fees and costs.Follow ing the com pletion ofarbitration,it is the
 responsibility ofthe partiesto file a m otion to liftthe stay and reopen the case.
        3.      The Clerk is DIR ECTE D to DEN Y A LL PEN D IN G M O TIO N S A S M O O T.
                The Clerk shall AD M IN ISTR ATIV ELY CLO SE this case for statistical
 purposcsonly. Thisshallnotaffectthe substantive rightsofthe parties.
        D ON E AN D O RD ERED in Cham bers atM iam i,Flori
                                                         da,thisx udayofFebnlary, 2018.

                                                                       e


                                                      JO SE . A RTIN EZ
                                                      UN IT  STATES D ISTRICT JU D GE
 Copies provided to:
 M agistrate Judge M aynard
 A 11CounselofRecord
